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   NS:TH
   F. #2017R01840

   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - - - - - - - - - - - -X

   UNITED STATES OF AMERICA

                    - against -                             Docket No. 18-CR-204 (S-2) (NGG)

   KEITH RANIERE,

                               Defendant.

   - - - - - - - - - - - - - - - - - - - - - - - - - -X




                        THE GOVERNMENT’S SENTENCING MEMORANDUM
                              AS TO DEFENDANT KEITH RANIERE



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                                 PRELIMINARY STATEMENT

                 For fifteen years, the defendant Keith Raniere was the leader of a criminal

   enterprise based in New York. Raniere recruited individuals into organizations he founded,

   purportedly for their own benefit, and then exploited them—for power, for profit, or for sex.

   The sentence imposed on Raniere should reflect the immeasurable damage he has done to his

   victims. To protect the public from the defendant, and to justly punish his years of crime and

   exploitation, the Court should impose a Guidelines sentence of life imprisonment.

                 Raniere’s post-conviction conduct reflects his total denial of culpability for the

   crimes of which he was convicted. While in prison, Raniere continues to regularly contact

   his supporters and has expressed contempt for his victims, the prosecution, and the Court.

   Raniere’s complete lack of acceptance of responsibility also counsels in favor of a sentence

   of life imprisonment.

                 For the reasons set forth below, the defendant’s challenges to the Presentence

   Investigation Report (“PSR”) are meritless, and the Court should adopt the PSR’s Guidelines

   calculation and recitation of the relevant facts. The government respectfully submits that the

   applicable Guidelines range and the relevant factors under 18 U.S.C. § 3553(a) warrant a

   sentence of life imprisonment. The Court should also order payment of restitution and a fine.
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                                           BACKGROUND

                  The Court is familiar with the offense conduct in this case, having presided

   over the defendant’s six-week jury trial in May and June 2019. The following factual

   summary is intended to provide an overview sufficient to situate the government’s arguments

   with respect to sentencing in the relevant factual context, but not to provide a comprehensive

   recitation of all aspects of the offense conduct proven at trial.

                  In 2018 and 2019, Keith Raniere and five co-defendants were indicted for

   racketeering, racketeering conspiracy and related crimes, including sex trafficking, forced

   labor, alien smuggling, identity theft and extortion. On June 19, 2019, Raniere was

   convicted of all seven counts (and all eleven racketeering acts) submitted to the jury. 1

   Raniere’s convictions fall into the following categories of illegal conduct:

                 i.   Sexual exploitation of Camila (Jane Doe 2);

                ii.   Alien smuggling and visa fraud;

               iii.   Trafficking of Daniela (Jane Doe 4) for labor and services;

               iv.    Unlawful surveillance of individuals believed to be enemies of Nxivm and
                      of Raniere;

                v.    Obstruction of justice;

               vi.    Sex trafficking, wire fraud, and extortion related to DOS; and

              vii.    Identity theft related to tax evasion.




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                  The other five defendants pleaded guilty.

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          I.      Offense Conduct

                  The evidence presented at trial demonstrated that for over a decade, Raniere

   led a criminal enterprise (“the Enterprise”) and relied on an “inner circle” of individuals to

   carry out his orders. PSR ¶¶ 36-41. Raniere and his co-conspirators recruited individuals

   into various purported self-help organizations that Raniere founded, including Nxivm and

   affiliated programs, and DOS. Id.; see, e.g., Trial Transcript (“Tr.”) at 619-24 (testimony of

   Mark Vicente regarding Nxivm recruitment strategies); id. at 1619-20 (testimony of Lauren

   Salzman that Raniere preferred DOS recruits to be individuals “in positions of power and

   influence”).

                  Raniere demanded absolute commitment from those he recruited and those

   within his inner circle, including as to his teachings and ideology. PSR ¶ 38; see, e.g., Tr. at

   308 (testimony of Sylvie that “a lot of the time it doesn’t make any sense but we all just

   would agree . . . . it was so rare that someone would disagree with [the Nxivm curriculum],

   so rare”); id. at 502 (testimony of Vicente that “one couldn’t question the higher ranks and

   questioning [Raniere] was seen as a very, very bad thing”); id. at 1875 (testimony of Lauren

   Salzman as to shunning). Raniere and his co-conspirators maintained control over the

   Enterprise by, among other means, obtaining sensitive information about members and

   associates of the Enterprise; inducing shame and guilt in order to influence and control

   members and associates of the Enterprise; isolating associates and others from friends and

   family and making them dependent on the Enterprise for their financial well-being and legal

   status within the United States; and encouraging associates and others to take expensive

   Nxivm courses, and incur debt to do so. PSR ¶ 38. Members of the Enterprise recruited and

   groomed sexual partners for Raniere, both within and outside of DOS, and many were

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   themselves in sexual relationships with Raniere that involved pledges of loyalty, penances

   for “ethical breaches,” and collateral. PSR ¶ 39.

                i.   Sexual Exploitation of Camila

                 In September 2005, the defendant began a sexual relationship with Camila,

   then a fifteen-year-old child. PSR ¶¶ 60-64; Tr. at 3457-65, 3524; Government Exhibit

   (“GX”) 1400-44; see also GX 301-R (appended to this memorandum in Exhibit A). Camila

   and her family had arrived in Clifton Park at the defendant’s invitation, and he arranged for

   her to work as a maid in Nancy Salzman’s house, which was a distance away from her

   siblings. See Tr. at 2465-2473 (Daniela’s testimony). Camila lived in a house with other

   members of the Nxivm community, including Monica Duran, a woman who—like Camila—

   would later become a first-line master in DOS. Id.

                 On November 2, 2005 and again on November 24, 2005, the defendant took

   photographs of Camila constituting child pornography. Several of the photographs depict

   Camila lying on a bed fully nude. At least five photographs depict close-ups of Camila’s

   genitals. 2 PSR ¶¶ 60-64.

               ii.   Trafficking of Daniela

                 As proven at trial, between March 2010 and April 2012, Raniere, Lauren

   Salzman, and others trafficked Daniela for labor and services by confining her to a room for

   nearly two years on the threat of being sent to Mexico and withholding her birth certificate.

   PSR ¶¶ 65-69.




          2
                  See GX503, 504, 528-534. Pursuant to the Adam Walsh Act, these exhibits
   are available to the Court for review in advance of sentencing.

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                 Raniere initiated a sexual relationship with Daniela, Camila’s sister, when

   Daniela was eighteen. PSR ¶ 66. After Daniela re-entered the United States in 2004, she

   began to work for Raniere, including by cleaning, organizing his books, digitizing his music

   collection, and compiling reports summarizing lengthy textbooks on various topics. Id.;

   Tr. at 2511. As he did in his relationships with other women, Raniere controlled Daniela’s

   diet and weight and insisted that Daniela keep the relationship secret. PSR ¶ 66. When she

   was 20, Daniela became pregnant by Raniere. Raniere’s partner, Pamela Cafritz, paid for

   Daniela’s abortion and instructed Daniela to lie about the identity of the father to medical

   staff. Id.

                 After Daniela developed romantic feelings for another man, Raniere told

   Daniela’s parents that Daniela had committed an “ethical breach.” PSR ¶ 67. Raniere

   ordered that Daniela be confined to a room in her parents’ home without human contact. At

   Raniere’s instruction, Lauren Salzman threatened Daniela if she left the room, she would be

   sent to Mexico without any identification documents. Id.; see GX 1578, 1535, 1534, 1563,

   1603, 1934.

                 Daniela was confined to the room for nearly two years, during which she went

   months without human contact. PSR ¶ 68; Tr. at 1927. Family members left meals for

   Daniela outside her door. Daniela was denied prompt medical care and slept on a foam pad

   on the floor. During this time, Daniela wrote hundreds of letters to Raniere with various

   proposals to “heal” her purported “ethical breach.” Daniela believed that if she stopped

   writing, she would be sent to Mexico without money or her identification documents. Id.

                 Lauren Salzman reported to Raniere regarding Daniela’s “progress,” but

   Raniere frequently told Salzman that Daniela was “game-playing” and manipulating Salzman

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   and needed to stay in the room longer. Tr. at 1930-34 (Salzman’s testimony). Raniere

   forbade Salzman from telling Daniela anything or giving her any information “about what

   was going on, on the outside with anybody.” Tr. at 1936-37. At one point, when Daniela cut

   off her hair, Raniere instructed Lauren Salzman to tell Daniela that Daniela would have to

   stay in the room until her hair grew back. Id.; Tr. at 2899. Over time, Daniela’s

   psychological health deteriorated:

                  [S]ometimes I would beg: Please let me know. I don’t know
                  why, just—just let me out. Nobody cared. My family didn’t.
                  Nobody cared. So, it was also—it was also knowing that
                  nobody wanted me. I’m in a world where nobody cares that I’m
                  losing my life. . . . it was clearly never gonna end.”

   Tr. at 2905 (Daniela’s testimony). In approximately February 2012, after considering

   suicide, Daniela left the room. PSR ¶ 69. Daniela was then driven to Mexico at Raniere’s

   direction and was told that unless she completed book reports for Raniere, she would not

   receive her birth certificate. Daniela ultimately obtained a copy of her birth certificate with

   the assistance of an attorney working for a human rights commission. Id.

               iii.   Alien Smuggling

                  Raniere and his co-conspirators participated in efforts to recruit and secure

   immigration status for non-citizens so that they could work in one or more Nxivm-affiliated

   organizations or as his sexual partners. PSR ¶ 42. Among the individuals that Raniere and

   his co-conspirators assisted in entering or remaining in the United States unlawfully were

   siblings Marianna, Daniela, Adrian and Camila. Id. By 2008, all four siblings were out of

   status and unlawfully in the United States. See Tr. at 2491-2505 (testimony of Daniela); see

   GX 1554.




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                           a.    Daniela

                  In 2004, Raniere arranged for Daniela to enter the United States unlawfully

   using a false identification document with the last name and date of birth of Ashana Chenoa,

   a deceased woman. PSR ¶ 44. Daniela’s parents had paid for her to take a Nxivm course in

   Monterrey, Mexico, and encouraged Daniela to join the Nxivm community in Albany, New

   York. Id.; Tr. at 2301 (Daniela’s testimony). On October 26, 2004, Daniela was denied

   entry into the United States and returned to her home town in Mexico. PSR ¶ 44; Tr. at

   2408. Raniere instructed Daniela to fly to Toronto, Canada and enter the United States with

   a false sheriff’s ID card containing the name and date of birth of a deceased woman who,

   according to Raniere, bore a resemblance to Daniela. PSR ¶ 44; Tr. at 2410. On December

   24, 2004, Daniela met Kathy Russell at the border. Id. Russell handed Daniela the false

   sheriff’s ID bearing the name “Lisa Chenoa,” and drove Daniela across the border into the

   United States and back to the defendant’s community in Clifton Park, New York. Tr. at

   2411-2414.

                           b.    Camila

                  Between approximately 2011 and September 2018, Raniere directed his co-

   defendant Kathy Russell to lease 120 Victory Way, a property in Clifton Park, New York.

   PSR ¶ 43. The residence was used to house Camila, who did not have legal status within the

   United States. Id. Russell leased the property for over seven years under an assumed name

   and, each year, paid the rent in cash and in full. Id.

                           c.    Marianna

                  Raniere and his co-conspirators made significant efforts to assist Marianna in

   entering and remaining in the United States. PSR ¶¶ 49-53. Marianna arrived in the United

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   States in or about 2003, shortly after completing high school, in order to study the Nxivm

   curriculum with Raniere. In 2004, Marianna began a sexual relationship with Raniere and

   Pamela Cafritz. Some time thereafter, Marianna’s status in the United States on a visitor’s

   visa expired. Tr. at 2491 (testimony of Daniela). Notwithstanding that Marianna had been

   living with Raniere without legal status in the Nxivm community for nearly a decade, Clare

   Bronfman falsely claimed that Marianna had always been compliant with U.S. immigration

   laws and that Marianna had been employed by her father’s rock-drilling company in Mexico.

   PSR ¶ 51.

               iv.      Identity Theft and Unlawful Surveillance (Keylogging)

                     Raniere and his co-conspirators engaged in unlawful surveillance and

   investigation of his perceived enemies. PSR ¶¶ 70-75. The targets of these efforts included

   federal judges overseeing litigation in which Nxivm was a party, high-ranking politicians,

   reporters who had published articles critical of Raniere or Nxivm, Nxivm’s own lawyers,

   legal adversaries and their families, an accountant (James Loperfido) who worked for an

   attorney who had previously done work for Nxivm, and Edgar Bronfman Sr., the father of

   Clare Bronfman. Id.; Tr. at 3357 (testimony of Loperfido). On multiple occasions,

   Bronfman approached Stephen Herbits, a colleague of her father, whom she believed to have

   political influence, in an attempt to persuade him to help her intimidate individuals perceived

   to be hostile to Nxivm or Raniere. PSR ¶¶ 70-75; Tr. at 1322-24 (testimony of Herbits),

   1330-33.

                     Between August 2005 and October 2008, Raniere directed Daniela to obtain

   the usernames and passwords for email accounts belonging to individuals they perceived to

   be Nxivm enemies, in order to gain access to those individual’s email accounts and monitor

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    their communications. PSR ¶¶ 70-75; see GX 1518; Tr. at 2535-40 (Daniela’s testimony).

    After the publication of a October 2003 Forbes article in which Edgar Bronfman was quoted

    as calling Nxivm a “cult,” Raniere considered Edgar Bronfman an enemy of his and of

    Nxivm. See GX 1456. As a result, Raniere tasked Daniela with creating keylogging

    software in order to access and monitor Edgar Bronfman’s email account. Tr. at 2552-54

    (Daniela’s testimony). Bronfman installed the keylogging software on her father’s computer,

    and Daniela was thereafter able to access Edgar Bronfman’s email account. Tr. at 2554-55.

    For years, Daniela reported the results to Raniere. PSR ¶ 72; Tr. at 2556-57. At Raniere’s

    direction, Daniela also created and installed keylogging software on the computer of James

    Loperfido, an accountant who had worked for Joseph O’Hara, an attorney who had

    previously done work for Nxivm. Tr. at 2553 (Daniela’s testimony), 3370 (Loperfido’s

    testimony).

                  Daniela thereafter regularly emailed the results of the keylogging software,

    which reflected Loperfido’s computer activity, to Raniere. PSR ¶ 73; Tr. at 2560. In

    November 2008, Raniere also enlisted Daniela to install keylogging software on Daniela’s

    sister Marianna’s computer after Raniere suspected Marianna of rekindling a relationship

    with an ex-boyfriend. PSR ¶ 74; Tr. at 2621-2622. Through installation of the keylogging

    software, Daniela provided Raniere with her sister’s Facebook password. Id.

                  On behalf of Nxivm, Bronfman hired several private firms, including

    Canaprobe and Interfor, in order to investigate perceived enemies of Nxivm and Raniere.

    PSR ¶ 75; Tr. at 5010. Between approximately 2007 and 2009, Canaprobe sent the results of

    purported “bank sweeps” for bank account and balance information belonging to Nxivm’s

    adversaries. Id. On March 27, 2018, a search warrant was executed on the residence of

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    Nancy Salzman. Among the items recovered was a large box containing what appears to be

    private banking information of many individuals perceived to be Nxivm enemies, including

    Edgar Bronfman, Joseph O’Hara, Rick Ross, and others. Id.; Tr. at 4997-99 (describing

    purported banking information for, among other individuals, the author of the October 2003

    Forbes article and prominent New York politicians and lobbyists).

                v.    Obstruction of Justice

                  Raniere obstructed justice by altering videotapes that were to be produced in

    discovery in a federal lawsuit in New Jersey. PSR ¶¶ 80-83. In 2003, Nxivm and affiliated

    entities filed suit against Stephanie Franco, a former Nxivm student, and Rick Ross. Tr.

    at 4683-84 (Ross’s testimony). The lawsuit alleged copyright infringement and centered on a

    claim that Franco had violated a non-disclosure agreement by providing Nxivm course

    materials to Rick Ross, a cult deprogrammer, who published the course materials on his

    website. Tr. at 910, 1299 (Vicente’s testimony); Tr. at 1988-89 (Salzman’s testimony); Tr. at

    4700-4703 (Ross’s testimony). In around 2008, Franco’s attorneys requested the production

    of certain videotapes in support of their claim that the Nxivm curriculum contained false

    statements and violated certain state consumer protection laws. Id. In June 2008, Raniere

    tasked Mark Vicente, among others, to alter videotapes and to remove certain segments from

    them without having the videotapes appear altered. Tr. at 745 (Vicente’s testimony).

    Vicente was provided with videotapes to remove content, including segments in which

    Nancy Salzman made unsubstantiated health claims about Nxivm’s curriculum. Tr. at 1256.

    These altered videotapes were then produced in discovery by Nxivm’s attorneys with the

    false claim that they were provided in “unedited fashion.”




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                vi.   DOS

                  In late 2015, Raniere created DOS, a secret organization led by Raniere and

    comprised of “masters” who recruited and commanded groups of “slaves.” PSR ¶¶ 84-96;

    Tr. at 1506 (testimony of Lauren Salzman). Aside from Raniere, all members of DOS were

    female. Raniere gave himself the title “Grandmaster.” Id. Raniere’s direct slaves (the “First

    Line”) were Camila, Daniella Padilla, Nicki Clyne, Loreta Garza, Rosa Laura Junco, Monica

    Duran, Allison Mack, and Lauren Salzman. Tr. at 1509. Each of these “first-line slaves”

    recruited their own “slaves” by approaching young women and falsely describing DOS as a

    secret women’s empowerment group or sorority. Id. Raniere instructed the First Line never

    to disclose his participation in and leadership of DOS. Prospective “slaves” were required to

    provide “collateral”—including damaging confessions about themselves and loved ones

    (truthful or not), rights to financial assets, and sexually explicit photographs and videos—to

    prevent them from leaving the group or disclosing its existence to others. Tr. at 1508-09,

    1602-05.

                  Through DOS, Raniere used the First Line to recruit other women to make a

    “collateralized vow of obedience” to their masters (and, by extension, to Raniere) and then

    required these “slaves” to perform labor, take nude photographs, and, in some cases, to

    engage in sex acts with Raniere. Tr. at 1707, 1750, 2183. Raniere at one point told Camila

    that it would be “good” for her to “own a fuck toy slave” for him that she could “groom and

    use as a tool to pleasure” him. GX 1779-285; Tr. at 3569. Raniere also instructed Daniella

    Padilla, Loreta Garza, Rosa Laura Junco and Camila to find a young virgin “successor” for

    Raniere. Tr. at 3590, 3597.




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                  The First Line of DOS met three times a week for about ten hours a week.

    PSR ¶¶ 84-96; Tr. at 1510-11 (Lauren Salzman’s testimony). At the start of each meeting,

    the First Line took a fully nude photograph of themselves and sent it to Raniere. In the

    meetings that Raniere attended, Raniere sat on a chair, dressed, while the First Line sat on

    the floor beneath him naked. Id. Raniere engaged in sexual relationships with the First Line,

    occasionally at the same time, and directed them to purchase a “sorority house” which would

    contain BDSM equipment, including a human-sized cage. Tr. at 1510; 1538. These

    sexualized components of DOS, along with Raniere’s leadership of DOS, were deliberately

    concealed from recruits. PSR ¶¶ 84-96; Tr. at 1509. In April 2017, the First Line of DOS

    purchased a “sorority house,” located at 9 Milltowne Drive, Waterford, New York 12188.

    PSR ¶¶ 84-96; Tr. at 1623.

                  Raniere and other DOS “masters” recruited women as “slaves” into DOS by

    deliberately concealing Raniere’s role in DOS. PSR ¶¶ 84-96; Tr. at 1509. Women were

    recruited into DOS from California, Mexico, Canada and elsewhere, and DOS “masters”

    used encrypted messaging applications located overseas, including Telegram and Signal, to

    communicate with their “slaves” and to collect collateral. Tr. at 1604-05. After women were

    recruited into DOS and their collateral was collected, the DOS “slaves” were told that they

    needed to provide additional collateral each month. DOS “slaves,” including Sylvie, Nicole,

    and Jay, among others, believed that if they did not obey their “masters,” their collateral

    would be released. PSR ¶¶ 84-96; see, e.g., Tr. at 213-14.

                  Raniere and DOS “masters” used a variety of means to coerce their “slaves”

    into submission. In accordance with Raniere’s instructions, DOS “slaves” were required to

    be branded with a symbol that, unknown to the “slaves,” represented Raniere’s own initials.

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    Tr. at 1621. DOS “slaves” were also controlled in a number of other ways, including

    physical isolation (by being required to stay in Clifton Park); forced participation in

    “readiness” drills; requirements to seek permission from Raniere or their “master”; sleep-

    deprivation and extremely restrictive diets. PSR ¶¶ 84-96.

                  At Raniere’s instruction, the DOS victim being branded was held down by

    other DOS “slaves” and was required to state, among other things, “Master, please brand me,

    it would be an honor.” PSR ¶¶ 84-96. Raniere gave these directives to Allison Mack to

    implement:


                  Raniere:       Do you think the person who’s being branded should be
                                 completely nude and sort of held to the table like a, sort
                                 of almost like a sacrifice? I don’t know if that, that’s a
                                 feeling of submission, you know. So, [U/I]

                  Allison:       Yea

                  Raniere:       Ah, you could also of course videoing it, and videoing it
                                 ah from different angles or whatever gives collateral.

                  Allison:       Mmhm

                  Raniere:       So, it probably should be a more vulnerable position type
                                 of a thing.

                  Allison:       OK

                  Raniere:       Laying on the back, legs slightly, or legs spread straight
                                 like, like feet, feet being held to the side of the table,
                                 hands probably above the head being held, almost like
                                 being tied down, like sacrificial, whatever.

                  Allison:       OK

                  Raniere:       And the person should ask to be branded.

                  Allison:       OK



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                     Raniere:        Should say, please brand me it would be an honor, or
                                     something like that. An honor I want to wear for the rest
                                     of my life, I don’t know.

                     Alison:         OK

                     Raniere:        And they should probably say that before they’re held
                                     down, so it doesn’t seem like they are being coerced.

                     Allison:        OK

    GX 497-T. The branding itself was performed without anesthesia and using a cauterizing

    pen, which burned the skin and left a permanent mark. PSR ¶¶ 84-96. Most of the brandings

    were performed by Danielle, a DOS “slave” who was also a licensed medical professional.

    PSR ¶¶ 84-96.

                     DOS “masters” also benefitted financially from recruiting and maintaining

    DOS “slaves.” DOS “slaves” were coerced into providing labor and services for their

    “masters” under the threat of the release of their collateral, including editing and

    transcription work, taking naked photographs, and other tasks. DOS “masters” were

    expected to receive approximately 40 hours of labor each week from their “slaves.” PSR

    ¶¶ 84-96; Tr. at 1618-1619 (testimony of Lauren Salzman that Raniere decided that “if we

    each had six slaves who each had six slaves under them . . . you would have 40 hours,

    approximately 36, but approximately 40 hours of work per week for life from these

    individuals”).

                                a.   Sylvie

                     Sylvie had worked for Clare Bronfman for nearly ten years when Monica

    Duran, a “first-line” master in DOS, approached Sylvie about joining DOS. PSR ¶¶ 99-102;

    Tr. at 85 (Sylvie’s testimony). At that time, Sylvie had recently been married to another



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    member of the Nxivm community. PSR ¶ 99; Tr. at 261. Both Raniere and Bronfman, at

    various points, instructed Sylvie not to have sex with her husband for the first two years of

    their marriage. Id.; Tr. at 447.

                   Duran approached Sylvie and invited Sylvie to a secret project that Duran said

    had nothing to do with Nxivm. PSR ¶ 100; Tr. at 207. Sylvie was told that, in order to learn

    more, she had to provide “collateral,” which was something capable of destroying her

    relationships with her family. Tr. at 211, 264. Sylvie provided a stamped letter addressed to

    her parents falsely confessing to being a prostitute. Tr. at 277. Sylvie also provided a naked

    photograph of herself as collateral. Id.

                   Soon thereafter, Duran gave Sylvie an assignment to “seduce” Raniere. PSR

    ¶ 101; Tr. at 219. Sylvie was assigned to send Raniere naked photographs every day. Sylvie

    was not attracted to Raniere and found him “creepy.” Tr. at 118. Duran later arranged for

    Sylvie to meet Raniere at a house, where Raniere took Sylvie upstairs, instructed her to

    undress and lie down on the bed. Tr. at 250-54. Raniere then performed unwanted oral sex

    on Sylvie and took close-up photographs of Sylvie’s vagina with Sylvie’s phone. Tr. at 257.

    Sylvie felt disgusted by this encounter and acquiesced to it only because she believed her

    collateral would be released if she did not obey Raniere. Tr. at 220. The photographs were

    then sent to Duran using Telegram, an encrypted messaging service. Tr. at 257-58.

                   After Sylvie completed the assignment she had been given, Sylvie deleted the

    photograph in disgust and shame. Tr. at 257-58. The next day, Duran called Sylvie,

    panicked, because the photographs had been deleted from Duran’s phone. Id. Duran told

    Sylvie that she would have to go back to Raniere and have him take new photographs, which

    Sylvie did. Id.

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                           b.    Nicole

                  Nicole, an actress in her early 30s, began taking Nxivm classes in 2015,

    including acting classes with Allison Mack. In February 2016, Mack invited Nicole to join a

    “women’s mentorship group,” but asked that Nicole first provide collateral. PSR ¶¶ 103-

    112; Tr. at 3845-47 (Nicole’s testimony). At the time, Nicole was living in Brooklyn, New

    York. Nicole was told, and believed, that the organization was women-only and had no

    connection to Nxivm. After Mack made some suggestions of sufficient collateral, Nicole

    wrote a series of letters falsely alleging sexual abuse by a family member and other

    damaging allegations. Tr. at 3850. After Mack assured Nicole that the letters would be

    “locked in a box” where nobody could see them, Nicole provided the letters and a sexually

    explicit video of herself to Mack. Tr. at 3853.

                  Once Nicole had provided this collateral, Mack told Nicole about DOS,

    referring to it as “the Vow.” Tr. at 3854-55. Nicole agreed to become Mack’s DOS “slave.”

    Tr. at 3863-64. When Nicole agreed to join DOS, she was not aware and was not told that

    she would later be required to provide additional collateral. Tr. at 4017. Nicole was later

    required to provide, and did provide, additional collateral on a monthly basis, including

    credit card authorizations and the right to her grandmother’s wedding ring. Tr. at 4021-22.

                  Mack directed Nicole to be celibate for six months and subsequently assigned

    Nicole to contact Raniere. Tr. at 3868. One night when Nicole was staying with Mack in

    Clifton Park, New York, Raniere called Mack. Tr. at 3921-22. Mack told Nicole to go

    outside and meet Raniere, which Nicole obeyed. Id. Raniere blindfolded Nicole, led her into

    a car and drove her to a house. Tr. at 3925. Raniere then led Nicole, still blindfolded,

    through some trees and inside a building, where he ordered her to undress and tied her to a

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    table. Tr. at 3926-29. Another person in the room, unknown to Nicole, began performing

    oral sex on Nicole. Raniere asked if Nicole was ok and told Nicole that she was “very

    brave” and not to tell anyone what had happened. Tr. at 3921. Nicole believed that if she

    left DOS, her collateral would be released. Id.

                  Unknown to Nicole, the individual who performed oral sex on Nicole was

    Camila, one of Raniere’s First-Line “slaves,” and the sexual abuse took place at 120 Victory

    Way. Tr. at 1870. A photograph recovered from Camila’s Google account reflects a

    photograph of the table on which Nicole had been tied, along with a video camera that was

    pointed in the direction of the table. GX 1190; Tr. at 3657.

                  Nicole met the other DOS “slaves” under Allison Mack, including India,

    Michelle, and Danielle. Tr. at 4011-12. Throughout Nicole’s time in DOS, Mack regularly

    required her “slaves” to pose for nude photographs, including close-up photographs of their

    vaginas, either as assignments or collateral. Tr. at 4016, 4024. These photographs were sent

    to Raniere.

                  Mack also assigned her other slaves—India, Michelle and Danielle—with the

    task of “seducing” Raniere, all of whom had sexual interactions with Raniere or attempted to

    do so. As a First Line master, Mack expected to receive and did receive financial

    opportunities and privileges as a result of her slaves’ compliance with orders, including her

    orders to engage in sex acts with Raniere. Id.

                           c.    Jay

                  Jay is an actress and model who began taking Nxivm classes in or about 2016,

    during which time she became friendly with India, one of Mack’s slaves. PSR ¶¶ 113-17; Tr.




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    at 4318 (Jay’s testimony). In approximately November 2016, India recruited Jay in DOS.

    Tr. at 4324. Jay was told that DOS was a women’s-only organization. Id.

                  After several months, Mack and India gave Jay a “special assignment” to

    “seduce” Raniere and have Raniere take a photograph of Jay to prove that she had done it.

    Tr. at 4416-17. Mack told Jay, “I give you permission to enjoy it,” and Jay understood the

    assignment as a direction to have sex with Raniere. Tr. at 4418-20. Jay asked Mack directly

    if Raniere was part of DOS, which Mack denied. Id. Jay refused to engage in a sex act with

    Raniere. Tr. at 4419. Before leaving DOS in approximately May 2017, Jay captured images

    of collateral belonging to other DOS “slaves,” believing that she could protect the release of

    her own collateral by having other DOS members’ collateral as leverage. Tr. at 4423-25.

               vii.   DOS Aftermath

                  The existence of DOS became known within the Nxivm community in early

    June 2017, when the husband of Sarah Edmondson, a DOS “slave,” publicly confronted

    Nxivm members about DOS. Tr. at 1796 (testimony of Lauren Salzman that she told

    Raniere that Sarah’s husband was “really upset”). Immediately after the existence of DOS

    was publicly disclosed, Raniere directed the First Line of DOS to lie about his involvement

    in DOS, as well as to compile materials related to DOS and secure them. PSR ¶¶ 123-31; Tr.

    at 1798-1800 (Salzman testimony). Raniere also instructed the First Line to collect

    “positive” testimonials about DOS and to create a DOS website. Tr. at 1815.

                  In July and September 2017, Raniere and Bronfman received letters from

    separate DOS victims requesting the return or destruction of their collateral, which included

    descriptions of the collateral, including nude photographs and videos. Id. ¶ 124; Tr. at 1805-

    14. Bronfman hired private investigators and public relations firms to rehabilitate DOS’s

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    public image and to distance it from Nxivm. Bronfman also made attempts to have criminal

    charges instituted against Sarah Edmondson.

                  In September 2017, Raniere and Bronfman were alerted to the fact that The

    New York Times would shortly be publishing an article about DOS. Bronfman and Raniere

    drafted intimidating cease-and-desist letters to DOS victims that Bronfman and Raniere

    feared would publicly disclose the existence of DOS. These letters were later sent to several

    DOS victims by attorneys in Mexico. PSR ¶ 126; see Exhibit B. For instance, on September

    13, 2017, Raniere sent Bronfman the following email with the subject line, “What are your

    thoughts?”:

           Ms. [DOS victim],

           I am the chief attorney of a criminal investigation in Mexico of more than 20
           individuals tied together in a cooperative destructive network. These individuals,
           including yourself, have been acting against individuals who participate in the
           NXIVM corporation community.

           You are currently connected to the criminal investigations involving fraud, coercion,
           extortion, harassment, stalking, theft of trade secrets (which includes use of trade
           secrets compromised of, amongst other things, client lists), criminal conspiracy,
           computer crimes and corporate espionage.

           I strongly suggest that you cease and desist, undo, reverse, cancel, and retract,
           participation in all past, present, and future, conversations, conference calls, meetings,
           news media, social media, blogs, or websites, relating to this subject matter until the
           criminal matters are resolved. You should do everything in your power to affect this.

           Your best course of action to minimize your exposure, in addition to the above, is to
           repair all damages to parties you have acted against, reconciling with them, and fully
           cooperating with the criminal investigations. In this regard, I can help you for I
           represent some of your victims and have access to others.

           I know that people in the media (and also bloggers and the like) can be coercive,
           abusive in their power, and force unwitting, uninformed, participants to complicate
           situations and potentially even waive rights. You still have the ability to pull away
           from all participation with these people.



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           Please contact me as soon as possible,

    Exhibit B-001. Less than thirty minutes later, Bronfman emailed the text of the email of the

    email to Alejandro Betancourt, a co-conspirator based in Mexico. The following day,

    September 14, 2017, the referenced DOS victim received an email from a Mexican attorney,

    Ricardo Olmedo of Olmedo Gaxiola & Abogados, with the subject line “CAUSA PENAL

    EN MEXICO.” Attached to the email was a Microsoft Word document containing, word-

    for-word, the text of the email sent by Raniere to Bronfman. See Exhibit B-002. The

    metadata of the Word document received by the DOS victim reflects that the creator of the

    document was Bronfman.

                  On September 18, 2017, Raniere sent Bronfman the following email with the

    subject line “Draft”:

           Ms. [DOS victim],

           You are the only person receiving this letter. This overture is against my better
           judgement as I feel there is little probability of success yet more expense, but I am
           writing you on my clients’ behalf. If you do not respond affirmatively to this letter by
           1:00pm September 19th I will need to proceed as previously required. I will then not
           contact you informally again.

           My clients want to give you this opportunity to cooperate and minimize the impact on
           your life. The criminal investigations will increase in number, and thoroughness, and
           will not stop until justice is served. This will not go away.

           The group with which you are involved contains individuals who have already served
           prison time, others who are currently indicted, and some that face extradition
           proceedings. The others are under investigation for quite serious crimes. The form of
           justice to which they subscribe is trial and conviction by media, personal opinion, and
           abuse of power. They appear to have no issue with committing a crime when it suites
           [sic] them. They use the actions of others to justify this. Whether the person they
           target is right or wrong, this method of persecution is very wrongful. You must
           separate from them completely to mitigate the effects on yourself.




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           Please divest yourself from this wrongfulness and this group. Please write to me
           affirmatively by the above deadline indicating you will cooperate fully. I can also
           help you with any criminal investigations within the United States.

           Sincerely,

    Exhibit B-003. That same day, the DOS victim received an email from Mr. Olmedo Gaxiola

    attaching a second letter as a document in Microsoft Word, which contained nearly exactly

    the same text as that sent to Bronfman by Raniere, and, the metadata of the Word document

    reflects that the creator of the document was Bronfman. Exhibit B-004.

                   Other DOS victims, including Jay, received similar intimidating letters from

    another attorney, Diego Ruiz Durán of Bufete Ruiz Durán S.C. On October 11, 2017—six

    days before The New York Times published its reporting on DOS 3—Jay received an email

    from Mr. Durán. In the email, Mr. Durán stated that he was taking “the liberty to writing to

    you to let you know that the State’s Attorney’s Office in Mexico, has issued some directives

    against you and other individuals.” Exhibit B-005. Mr. Durán enclosed a letter in Spanish

    and a document containing an English translation directing Jay to “[s]top, abstain and refrain

    from incurring in any type of intimidation, acts of nuisance or disturbances[.]” Id.

                   Months later, in December 2017, Bronfman released a public statement

    characterizing DOS as a “sorority,” stating that it had “truly benefited the lives of its

    members, and does so freely. I find no fault in a group of women (or men for that matter)

    freely taking a vow of loyalty and friendship with one another to feel safe while pushing

    back against the fears that have stifled their personal and professional growth.” GX 1393R.




           3
                 See Barry Meier, Inside a Secretive Group Where Women Are Branded, N.Y.
    Times (Oct. 17, 2017).

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    Raniere also issued a public statement denying his association with DOS and claiming that

    “experts” had concluded that “members of the sorority . . . haven’t been coerced.” GX 1009.

                  After multiple DOS victims spoke publicly about their experiences, Raniere

    and Nicki Clyne, a member of the First Line, considered releasing an edited video of Sarah’s

    branding ceremony. Tr. at 1836. The branding video depicted Sarah naked and being

    branded and stating, as she had been instructed, “Master, please brand me, it would be an

    honor.” In May 2019, during the trial against Raniere, the video of Sarah’s branding video

    was publicly disseminated and broadcast in Mexican media. Tr. at 5149.

                  Shortly after the media reports were published regarding DOS, Raniere and

    Bronfman traveled to Mexico. As media outlets began reporting that the United States

    Attorney’s Office had launched a criminal investigation, Raniere stopped using the phone

    number he had previously used for over fifteen years and he and Bronfman began using

    encrypted email accounts. Tr. at 1855-56.

              viii.     Financial Crimes

                  Between approximately November 2016 and March 2018, Raniere and

    Bronfman conspired to commit identity theft in connection with Raniere’s continued use of a

    credit card account number and bank account number belonging to Pamela Cafritz, knowing

    Cafritz was deceased. PSR ¶ 78. This scheme was part of a long-standing practice of

    deliberately keeping money and assets out of Raniere’s name. Id.; see e.g., Tr. at 607-08

    (testimony of Mark Vicente that Raniere expressed desire to be “bankruptcy remote”).

                      Bronfman facilitated the scheme by arranging for regular payment of Pamela

    Cafritz’s credit card after she died on November 7, 2016. Id.; Tr. at 4540 (testimony of

    Investigator Richard Guerci). Among the charges on Pamela Cafritz’s credit card were

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    charges to Prosvent LLC, Amazon Marketplace, Restoration Hardware, a pet shop,

    Domino’s Pizza, a sock store in Brooklyn, Neiman Marcus, Bergdorf Goodman, Saks Direct,

    Netflix, and various baby companies. Tr. at 4556-4629. In total, approximately $135,000

    was charged to Pamela Cafritz’s credit card from November 7, 2016, the date of her death, to

    February 8, 2018. Tr. at 4620. In addition, disbursements were made from Pamela Cafritz’s

    Key Bank account after she died. Tr. at 4556-64. Approximately $320,305 in checks and

    $736,856 total disbursements were drawn from Cafritz’s account, which included payments

    to Russell. Tr. at 4582.

                                          APPLICABLE LAW

                   “[A] district court should begin all sentencing proceedings by correctly

    calculating the applicable Guidelines range. As a matter of administration and to secure

    nationwide consistency, the Guidelines should be the starting point and the initial

    benchmark.” Gall v. United States, 552 U.S. 38, 49 (2007) (citation omitted); see also

    United States v. Booker, 125 S. Ct. 738, 743 (2005) (although the Guidelines are advisory,

    district courts are still “require[d] . . . to consider Guidelines ranges” in determining a

    sentence).

                   Next, courts should “consider all of the § 3553(a) factors to determine whether

    they support the sentence requested by a party. In so doing, [the Court] may not presume

    that the Guidelines range is reasonable. [It] must make an individualized assessment based

    on the facts presented.” Gall, 552 U.S. at 50 (citation and footnote omitted). Section

    3553(a) requires courts to “impose a sentence sufficient, but not greater than necessary, to

    comply with the purposes of [18 U.S.C. § 3553(a)(2)].” The factors courts shall consider in

    imposing sentence include “the nature and circumstances of the offense and the history and


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    characteristics of the defendant,” 18 U.S.C. § 3553(a)(1), as well as the need for the sentence

    imposed:

                   (A)    to reflect the seriousness of the offense, to promote
                          respect for the law, and to provide just punishment for
                          the offense;

                   (B)    to afford adequate deterrence to criminal conduct;

                   (C)    to protect the public from further crimes of the
                          defendant; and

                   (D)    to provide the defendant with needed educational or
                          vocational training, medical care, or other correctional
                          treatment in the most effective manner[.]

    18 U.S.C. § 3553(a)(2).

                   In addition, 18 U.S.C. § 3661 provides that, “No limitation shall be placed on

    the information concerning the background, character, and conduct of a person convicted of

    an offense which a court of the United States may receive and consider for the purpose of

    imposing an appropriate sentence.”

                                          THE GUIDELINES

                   The United States Sentencing Guidelines (“Guidelines” or “U.S.S.G.”)

    calculation detailed in the PSR is accurate, and, based on a total offense level of 52 and a

    criminal history category of I, results in an advisory Guidelines range of life in prison.

      Group                    Count                    Adjusted Offense              Units
                                                             Level

         1       Counts 1(A) and 7: Visa Fraud                 23                      0.0
                 and Wire Fraud

         2       Counts 1, 2, RA1(a), RA1(b):                  23                      0.0
                 Identity Theft




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        3     Counts 1, 2, RA2 and 4: Sexual          42             1.0
              Exploitation of Camila on
              November 2, 2005

        4     Counts 1, 2, RA3 and 4: Sexual          42             1.0
              Exploitation of Camila on
              November 24, 2005

        5     Counts 1, 2, RA5(a) and 5(b):           23             0.0
              Identity Theft of Loperfido

        6     Counts 1, 2, RA5(a) and 5(b):           23             0.0
              Identity Theft of Edgar
              Bronfman

        7     Counts 1, 2, RA6: Alter Records         23             0.0
              in an Official Proceeding

        8     Counts 1, 2, RA7: Identity Theft        23             0.0
              of Marianna

        9     Counts 1, 2, RA9(a) and 9(b):           31             0.0
              Trafficking and Document
              Servitude of Daniela

       10     Counts 1, 2, RA10: Extortion            23             0.0

       11     Counts 1, 2, RA12(a), 12(b), 8          36             0.5
              and 9: Sex Trafficking and
              Forced Labor of Nicole

       12     Counts 1, 2, RA14: Identity             23             0.0
              Theft of Pamela Cafritz

       13     Counts 1 and 8(a): Sex                  38             1.0
              Trafficking of Additional DOS
              Victim 1

       14     Counts 1 and 8(b): Sex                  38             1.0
              Trafficking of Additional DOS
              Victim 2

       16     Counts 1, 8, 10: Attempted Sex          38             1.0
              Trafficking of Jay




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                                                                                        5.5

                     The offense level applicable to the Group with the highest offense level is 42,

    which is the Group relating to the sexual exploitation of Camila. Because 5.5 units results in

    an increase of five levels pursuant to Guidelines Section 3D1.4, the combined adjusted

    offense level is 47. A five-level enhancement pursuant to Section 4B1.5(b)(1) for engaging

    in a “pattern of activity involving prohibited sexual conduct” is also applicable, which results

    in a total offense level of 52. PSR ¶ 292; Addendum to the PSR dated May 18, 2020.

                     In his objections to the PSR, Raniere raises seven challenges to the calculation

    of the Guidelines. Specifically, Raniere objects to (1) the application of the four-level leader

    or organizer role enhancement pursuant to Guidelines Section 3B1.1(a); (2) offense-level

    enhancements related to the sexual exploitation of Camila (Racketeering Acts Two, Three

    and Four); (3) an offense-level enhancement for “serious bodily injury” to Daniela as to

    Racketeering Act Nine; (4) the application of the cross-reference to the sex trafficking

    Guidelines as to the forced labor of Nicole (Racketeering Act 12(b) and 6); (5) the inclusion

    in the Guidelines of sex trafficking as to two additional DOS victims; (6) the calculation of

    the attempted sex trafficking of Jay (Counts 8 and 10); and (7) the five-level enhancement

    for engaging in a “pattern of activity involving prohibited sexual conduct” under Guidelines

    Section 4B1.5(b)(1). Def. Letter Dated March 11, 2020. As set forth below, these objections

    are meritless.

           I.        A Leadership Role Enhancement is Warranted

                     Under section 3B1.1(a) of the United States Sentencing Guidelines, a

    defendant’s base offense level should be increased by four levels “[i]f the defendant was an



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    organizer or leader of a criminal activity that involved five or more participants or was

    otherwise extensive.” To qualify for the enhancement, the defendant must have been the

    organizer or leader “of one or more other participants” in the criminal activity. U.S.S.G.

    § 3B1.1, app. note 2. The court determines whether a role enhancement is applicable based

    on all relevant conduct as defined by Guidelines Section 1B1.3, see U.S.S.G. § 3B1.1,

    introductory commentary, and considers factors such as the defendant’s “exercise of decision

    making authority, the nature of participation in the commission of the offense, the

    recruitment of accomplices, the claimed right to a larger share of the fruits of the crime, the

    degree of participation in planning or organizing the offense, the nature and scope of the

    illegal activity, and the degree of control and authority exercised over others,” id., app. note

    4; see also United States v. Katsman, 551 F. App’x 601, 603 (2d Cir. 2014) (summary order).

                   The applicability of the role enhancement is evaluated based on the

    defendant’s role in the overall racketeering enterprise, not his role as to each underlying

    predicate act. See United States v. Ivezaj, 568 F.3d 88, 99 (2d Cir. 2009) (“[I]t makes little

    sense to allow a defendant who acts in a leadership capacity in a wide-ranging criminal

    enterprise to have his offense level adjusted on the basis of his participation in discrete

    racketeering acts.”); see also United States v. Damico, 99 F.3d 1431, 1438 (7th Cir. 1996).

    As proven at trial, the defendant was the leader of a criminal enterprise comprising over a

    dozen individuals over whom he exerted control and authority and who he trusted to carry

    out his criminal directives. See, e.g., Tr. at 1563-1580; GX 362. The four-level leadership

    role enhancement is warranted.




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           II.    Raniere Had Sexual Contact with Camila and She Was in His Custody, Care
                  and Supervisory Control

                  The trial record overwhelmingly established that in September 2005, the

    defendant began sexually abusing Camila, who was then a fifteen-year-old child, and that

    Camila was in the custody, care and supervisory control of the defendant during this time.

    Therefore, as to Racketeering Acts Two, Three and Four, a two-level enhancement pursuant

    to Guidelines Section 2G2.1(b)(2)(A) and a two-level enhancement pursuant to

    Section 2G2.1(b)(5) are warranted.

                  Guidelines Section 2G2.1(b)(2)(A) provides for a two-level enhancement if

    the offense involved the commission “of a sexual act or sexual contact.” As detailed at trial,

    Raniere and Camila exchanged numerous sexually explicit emails referencing the beginning

    of their sexual relationship as September 2005 and their “anniversary”—that is, the first date

    they had sex—as September 18, 2005. See, e.g., Exhibit A, GX 301-R-17; Tr. at 3462-65.

    As just one example, on March 18, 2009, Camila sent an email to Raniere expressing her

    concern that their relationship was “limited” to “sex” and that Raniere did not “want

    anything more.” In that email, Camila also stated the following: “I just realized that it is the

    18th of march today…. We’ve been together for 3 1/2 yrs. whoa that’s a long time!” See

    GX 1400-44. The email is signed, “your vc,” which is a reference to “virgin Camila,”

    Raniere’s nickname for Camila. Additional communications make clear that Raniere first

    began having sex with Camila when she was 15 years old, when he took child pornography

    photographs of her. See, e.g., Exhibit A, GX 301-R-679 (Camila referring to herself as an

    “inexperienced 15 year old”); GX 302-R-44 (Raniere: You know I guard the other pictures




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    right? You know I have the others yes? Camila: From way back when..? Raniere: I wanted

    the original forever. I thought it was truly mine. Yes, from way back…”).

                  The child pornography photographs that Raniere took of Camila in November

    2005 themselves indicate a contemporaneous sexual relationship between Raniere and

    Camila. 4 The photographs depict Camila lying on a bed fully nude, and several photographs

    depict close-ups of Camila’s genitals. Not only do the content of photographs themselves

    suggest that Camila was engaging in sexual activity with the taker of the photographs,

    Raniere, but the photographs were located in a folder containing nude photographs of eleven

    other women with whom Raniere had a sexual relationship at that time. See also Tr. at 1535-

    36 (testimony of Lauren Salzman describing Raniere taking “up-close crotch shot”

    photographs of her in “around 2005”); Tr. at 2571-72 (testimony of Daniela having

    discovered photographs of “naked women” on Raniere’s computer). The collection of

    images are similar in content; each folder contains images of a nude woman on a bed and

    close-up photographs of the woman’s pubic hair and vaginal area.

                  Daniela’s testimony at trial confirmed the existence of a sexual relationship

    between Camila and Raniere before Camila turned 18. Specifically, Daniela testified that

    she had a conversation with Raniere about his sexual relationship with her sister Camila and

    that the conversation took place at some point prior to fall 2006. Tr. at 2472-74 (“I asked

    him if he was having sex with my sister [Camila]. He asked me if I minded.”).

                  Further, Camila’s gynecological records reflect that in 2011, Camila reported

    to medical professionals that she had been with the same sexual partner for “five years.” GX


           4
                  See GX 503, 504, 528-534.



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    539-18; see Tr. at 3312-13. In addition, a diary kept by Camila as a minor also reflects that

    she was in a sexual relationship with Raniere. 5 The diary, authored by Camila and dated July

    2007 (when Camila was 17 years old), indicates that Camila was in a sexual relationship with

    an individual who was also “with [her] sister in front of [her]” and who encouraged her to

    lose weight. 6 See Exhibit C at 2. The diary also contains references to Nxivm members,

    including her sister Marianna and brother Adrian; Camila’s work as a caretaker of Raniere’s

    son; and grocery lists and weight loss.

                  The defendant’s sexual abuse of Camila in the months prior to the commission

    of the crimes of conviction clearly supports an enhancement pursuant to § 2G2.1(b)(2)(A).

    See, e.g., United States v. Weisinger, 586 F. App’x 733, 739 (2d Cir. 2014) (summary order)

    (affirming application of § 2G2.1(b)(2)(A) on the grounds that the defendant had sexual

    contact with the victim in “grooming her for the crimes of conviction” even where the child

    pornography at issue did not depict sexual contact with another person); United States v.

    Holt, 408 F. App’x 229, 238 (11th Cir. 2010) (affirming application of enhancement where




           5
                   Camila’s diary, which was produced to the defendant prior to trial as
    VDM_NXIVM00028665-VMD_NXIVM00028761, will be provided to the Court under
    separate cover as Exhibit C. Due to the sensitive nature of these materials, the government
    respectfully requests that they remain under seal.
           6
                    The voluminous WhatsApp messages between Camila and Raniere admitted at
    trial reflect Camila’s distress at Raniere’s sexual relationship with her sister Marianna. See,
    e.g., GX 301-R-265 (“Were you serious about having children with my sister or were you
    using that to scare me?); id. (“You know how much we went through because of your
    relationship with her. I always felt that you chose her over me.”); GX 1779 (“Make sure
    your sister doesn’t see you texting…”); GX 1779-419 (“I really thought I was not going to be
    part of your life [because] I was so afraid that it looked like you were going to choose my
    sister”).

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    defendant’s “inappropriate sexual relationship with [the victim] groomed her to participate in

    [his] production of pornographic images.”).

                  The evidence at trial also established that after Camila arrived in Clifton Park

    at the defendant’s invitation, the defendant arranged for her to take Nxivm classes and to

    work as a maid in Nancy Salzman’s house, which was a distance away from her siblings.

    See, e.g., Tr. at 2469 (Daniela’s testimony that the “plan that Keith had for [Camila] was that

    she was going to be essentially Nancy’s maid. She was going to be cleaning Nancy’s house

    for money and attending Ethos classes and the house that they found for her was also far

    away from where I lived.”). The defendant also arranged for Camila to live in Nxivm-

    affiliated housing with other women, including Monica Duran. See, e.g., Tr. at 2465-73.

    Camila was in the custody, care and supervisory control of the defendant during this time and

    a two-level enhancement pursuant to § 2G2.1(b)(5) is therefore applicable. See U.S.S.G

    § 2G2.1(b)(5) app. note 5 (noting that § 2G2.1(b)(5) “is intended to have broad application

    and includes offenses involving a minor entrusted to the defendant, whether temporarily or

    permanently”).

           III.   An Enhancement for Daniela’s Serious Bodily Injury is Warranted

                  The trial record amply demonstrated that Racketeering Act Nine involved

    serious bodily injury to Daniela and that a two-level enhancement pursuant to U.S.S.G.

    § 2H4.1(b)(1)(B) is applicable. “Serious bodily injury” is defined as “injury involving

    extreme physical pain or the protracted impairment of a function of a bodily member, organ,

    or mental faculty; or requiring medical intervention such as surgery, hospitalization, or

    physical rehabilitation.” U.S.S.G. § 1B1.1, app. note 1. While she was confined to a room at

    the defendant’s direction, Daniela repeatedly requested medical care for a toothache that

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    caused her constant pain. Tr. at 1958-59; 2939-2942. The defendant did not permit Daniela

    to visit a dentist for six weeks. The defendant finally allowed Lauren Salzman to accompany

    Daniela to a dentist only after a part of Daniela’s tooth broke off, leaving a hole. Id.; Tr. at

    2955. Daniela also suffered extreme emotional and psychological pain as a result of her

    confinement, see, e.g., Tr. at 2891-901, and only escaped after she seriously contemplated

    suicide and started accumulating cleaning supplies in order to accomplish it, Tr. at 2905-06.

    These events constitute serious bodily injury in connection with Daniela’s condition of

    forced labor. See, e.g., United States v. Callahan, 801 F.3d 606, 627 (6th Cir. 2015) (a

    victim sustained “serious bodily injury” in connection with her condition of forced labor

    when the defendant kicked her in the face, “knocking a tooth loose”).

           IV.     The Cross-Reference to Guideline Section 2H4.1(b)(4)(B) Is Accurate

                   The defendant’s objection to the cross-reference, pursuant to U.S.S.G.

    § 2H4.1(b)(4)(B), to the guideline governing sex trafficking is meritless. Section

    2H4.1(b)(4) provides that if “any other felony offense was committed during the commission

    of, or in connection with, the [forced labor] offense, increase to . . . 2 plus the offense level

    from the offense guideline applicable to that other offense, but in no event greater than level

    43.” “Any other felony offense is defined as “any conduct that constitutes a felony offense”

    under federal, state or local law. Raniere argues that the cross-reference to the sex

    trafficking guideline results in double counting because he will be punished twice for the

    same conduct (sex trafficking of Jane Doe 5). The Second Circuit has “repeatedly held,

    however, that a district court calculating a Guidelines sentence may apply multiple

    Guidelines provisions based on the same underlying conduct where that is the result clearly

    intended by Congress and the Sentencing Commission [because while] such calculations

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    may involve ‘double counting’ in a literal sense, they do not involve impermissible double

    counting.” United States v. Maloney, 406 F.3d 149, 152 (2d Cir. 2005) (emphasis in

    original). Because the sex trafficking guideline calculation results in a higher offense level

    than that of the forced labor guideline, pursuant to § 2H4.1(b)(4)(B), the sex trafficking

    guideline calculation “essentially replaced the forced labor calculation,” which does not have

    the effect of impermissibly double counting the same underlying conduct. United States v.

    Callahan, 801 F.3d 606, 628-29 (6th Cir. 2015) (rejecting defendant’s claim that the cross-

    reference, pursuant to § 2H4.1(b)(4)(B), to the guidelines governing a different offense

    constituted impermissible double counting).

           V.     The Trial Evidence Established that Raniere Participated in Sex Trafficking as
                  to Other DOS Victims

                  The trial record also established, either by evidence admitted at trial that

    proved such facts explicitly or from which the facts reasonably could be inferred, that

    Raniere participated in sex trafficking as to two additional DOS victims, or, at a minimum,

    attempted to do so. Specifically, Raniere and other DOS “masters” recruited women,

    including Sylvie and India, as “slaves” into DOS by deliberately concealing Raniere’s role in

    DOS and the sexualized components of DOS. PSR ¶¶ 84-96; Tr. at 1509-11. Sylvie was

    recruited into DOS by Monica Duran, who gave Sylvie an assignment to “seduce Raniere.”

    PSR ¶ 101; Tr. at 219. Sylvie testified that she was not attracted to Raniere and found him

    “creepy.” Tr. at 118. Duran later arranged for Sylvie to meet Raniere at a house, where

    Raniere took Sylvie upstairs, instructed her to undress and lie down on the bed. Tr. at 250-

    54. Raniere then performed unwanted oral sex on Sylvie and took close-up photographs of

    Sylvie’s vagina with Sylvie’s phone. Tr. at 257. Sylvie felt disgusted by this encounter and



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    acquiesced to it only because she believed her collateral would be released if she did not

    obey Raniere. Tr. at 220. After Sylvie completed the assignment she had been given, Sylvie

    deleted the photograph in disgust and shame. Tr. at 257-58. The next day, Duran called

    Sylvie, panicked, because the photographs had been deleted from Duran’s phone. Id. Duran

    told Sylvie that she would have to go back to Raniere and have him take new photographs,

    which Sylvie did. Id.

                   The evidence at trial also established that the First Line received benefits,

    financial and otherwise, by facilitating Raniere’s access to their slaves. For example, on

    March 3, 2016, Raniere sent an email to Allison Mack asking if India knew that “to complete

    her [assignment] she needs to take all her clothes off” so that Raniere could take a

    photograph of her. GX 1805. The following day, Mack sent an email to Raniere apologizing

    for “bug[ging] him” but explaining that she “had not been paid as head trainer for the source”

    and that she was “struggling a little with income.” GX 1803. Mack wrote that Bronfman

    could not approve the payments until Raniere reviewed them. Raniere responded the same

    day with the following email: “Yes. Any news on India?” Lauren Salzman testified at trial

    that when she asked Mack whether Raniere was “fucking her slaves,” Mack responded that

    she and Raniere were going to “start working with India and Jay” and clarified to Salzman

    that “working” meant sex. Tr. at 1794. Taken as a whole, this evidence establishes that

    Raniere participated in sex trafficking as to Sylvie and as to India.

           VI.     Raniere is Not Entitled to a Three-Point Reduction Under Section 2X1.1(b)(1)

                   The defendant is not entitled to a three-point reduction under U.S.S.G.

    § 2X1.1(b)(1) because the evidence at trial established that the defendant “completed all of

    the acts [he] believed necessary for successful completion of the substantive offense[,]” that

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    is, the sex trafficking of Jay (Jane Doe 8). See Tr. at 4416-26, 4433. Under 18 U.S.C.

    § 1591, it is not required that the victim actually perform a commercial sex act as long as the

    defendant recruited, enticed, harbored, transported, provided, obtained, maintained,

    patronized or solicited Jay for purposes of engaging in commercial sex acts. See Jury

    Charge, ECF Docket Entry No. 728, at 100. The defendant completed all the acts he

    believed necessary for successful completion of the substantive offense, and is not entitled to

    the three-point reduction. See United States v. Medina, 74 F.3d 413, 418 (2d Cir. 1996)

    (explaining that § 2X1.1(b)(2) “determines punishment based on the conduct of the

    defendant, not on the probability that a conspiracy would have achieved success”); United

    States v. Deas, 768 F. App’x 81, 82 (2d Cir. 2019) (summary order) (same as to attempt);

    United States v. Jenkins, 69 F. App’x 499, 501 (2d Cir. 2003) (summary order) (same).

           VII.   Raniere Engaged in a Pattern of Activity Involving Prohibited Sexual Conduct

                  The government submits that the five-level enhancement under § 4B1.5(b)(1)

    for engaging in a “pattern of activity involving prohibited sexual conduct” is warranted. As

    set forth above, Raniere began a sexual relationship with Camila in or about September 2005,

    and thereafter, on two occasions in November 2005, produced child pornography depicting

    Camila. The Second Circuit has held that “[p]roof of any two separate occasions of

    prohibited sexual conduct” is sufficient to find “that a defendant poses the sort of continuing

    danger supporting a § 4B1.5(b) enhancement.” See United States v. Broxmeyer, 699 F.3d

    265, 284-86 (2d Cir. 2012) (finding that the defendant’s conviction of attempted production

    of child pornography, coupled with a single other occasion of prohibited sexual conduct, was

    indicative of a pattern of prohibited sexual conduct); see also United States v. Batson, 749 F.




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    App’x 804, 807 (11th Cir. 2018) (multiple sexual offenses involving the same minor victim

    qualified as a pattern of sexual activity under § 4B1.5(b)(1)).

                          FINANCIAL PENALTIES AND RESTITUTION

           I.     Assessments and Fines

                  In addition to assessments imposed by 18 U.S.C. § 3013, the Court should

    impose a payment of a $5,000 special assessment pursuant to the Justice for Victims of

    Trafficking Act of 2015, as well as a fine within the Guidelines range of $50,000 to

    $250,000. 7 PSR ¶¶ 356-60.

                  The Guidelines provide that a district court “shall impose a fine in all cases,

    except where the defendant establishes that he is unable to pay and is not likely to become

    able to pay any fine,” and employs an eight-factor test to determine the amount of any such

    fine. U.S.S.G. §§ 5E1.2(a), 5E1.2(d). The Guidelines further provide that “[t]he amount of

    the fine should always be sufficient to ensure that the fine, taken together with other

    sanctions imposed, is punitive.” Id. The defendant bears the burden of demonstrating an

    inability to pay a fine. See United States v. Camargo, 393 F. App’x 796, 798 (2d Cir. 2010)

    (summary order); United States v. Salameh, 261 F.3d 271, 276 (2d Cir. 2001).

                  The Guidelines fine range for the offenses of conviction is $50,000 to

    $250,000. PSR ¶ 359 (citing U.S.S.G. § 5E1.2(c)(3)). It appears that Raniere has the ability

    to pay a fine; Raniere reported an interest in the $8 million estate of his deceased former



           7
                   Although the PSR states that the $5,000 special assessment is to be imposed
    “per count,” the government notes that the Second Circuit has recently “conclude[d] that the
    text of § 3014, taken as a whole and in its context, is . . . meant to be applied on a per-
    offender, not a per-count, basis.” United States v. Haverkamp, 958 F.3d 145, 149 (2d Cir.
    2020).

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    partner, Pamela Cafritz, and also reported to the Probation Officer that he also had earnings

    from Executive Success Programs (“ESP”) and Nxivm. PSR ¶¶ 343, 347. Although the

    defendant’s true financial situation is opaque, see PSR ¶ 347, the defendant has not met his

    burden of establishing his inability to pay a fine. For the reasons set forth herein, there is a

    need for a financial penalty in light of the seriousness of Raniere’s crimes, his disregard for

    the law, and the need for deterrence.

           II.     Restitution

                   In Title 18, United States Code, Section 1593, Congress provided for

    mandatory restitution for victims of sex trafficking, forced labor, and document servitude,

    among other crimes. 18 U.S.C. § 1593(a); see United States v. Sabhnani, 599 F.3d 215, 254

    (2d Cir. 2010). Defendants convicted under Section 1593 are required to pay the “full

    amount of the victim’s losses,” as defined in 18 U.S.C. § 2259(b)(3). Section 1593 defines

    the term “victim” as an “individual harmed as a result of a crime under this chapter[.]”

                   Unless otherwise provided by statute (e.g., 18 U.S.C. § 2259, providing

    mandatory restitution for Chapter 110 offenses, including the production of child

    pornography), restitution for all other Title 18 offenses are calculated under 18 U.S.C.

    § 3663A (mandatory restitution for certain offenses) or § 3663 (discretionary restitution).

    Under Section 3663A, a victim is a person “directly and proximately harmed as a result of

    the commission of an offense for which restitution may be ordered, including, in the case of

    an offense that involves as an element a scheme, conspiracy, or pattern of criminal activity,

    any person directly harmed by the defendant’s criminal conduct in the course of the scheme,

    conspiracy, or pattern.” 18 U.S.C. § 3663A(a)(2).




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                   Under either statute, a defendant’s “economic circumstances should have no

    bearing on a court’s decision to enter such an order. 18 U.S.C. § 3664(f)(1)(A); In re

    Morning Star Packing Co., 711 F.3d 1142, 1144 (9th Cir. 2013) (holding district court

    committed legal error in denying restitution because of defendant’s claimed financial status

    and potential availability of civil remedies).

                   At present, the government has received over 25 declarations of loss from

    individuals who identify themselves as victims of the defendant’s criminal conduct and

    expects it may receive more. In light of the number of victims and the scope, complexity and

    duration of the defendant’s criminal activity, the government respectfully requests that the

    Court set a date no later than 90 days after sentencing for a final determination of victim

    losses for purposes of restitution. See 18 U.S.C. § 3664(d)(5).

                   In addition, the government anticipates that it will make a request that

    Raniere’s restitution order identify victims of sex trafficking, forced labor and document

    servitude (the “1593 Victims”) and prioritize restitution to such victims. The government

    recognizes that the restitution order entered by the Court may exceed Raniere’s ability to pay

    such order and the total value of assets to be criminally forfeited. Therefore, the government

    intends to request that, pursuant to 18 U.S.C. § 3664(i), the Court prioritize restitution to the

    1593 Victims in Raniere’s restitution order. 18 U.S.C. § 3664(i) (“If the court finds that

    more than 1 victim has sustained a loss requiring restitution by a defendant, the court may

    provide for a different payment schedule for each victim based on the type and amount of

    each victim’s loss and accounting for the economic circumstances of each victim.”); see, e.g.,

    United States v. Newcomb, No. 6:14-CR-00001-1, 2015 WL 4878940, at *3 (W.D. Va. Aug.

    14, 2015) (relying on § 3664(i) in prioritizing one corporate victim over another).

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                  The Attorney General, acting through the Department of Justice’s Money

    Laundering and Asset Recovery Section (“MLARS”), may exercise discretion to remit

    forfeited funds to persons who have incurred a pecuniary loss directly caused by the offense

    underlying the forfeiture, or a related offense. 28 C.F.R. §§ 9.2, 9.8(b)(1). A “related

    offense” includes an offense committed “as part of the same scheme or design, or pursuant to

    the same conspiracy, as was involved in the offense for which forfeiture was ordered.” 28

    C.F.R. § 9.2. Upon the final forfeiture of the assets subject to preliminary forfeiture orders in

    this case, the United States Office for the Eastern District of New York presently intends to

    request that the Department of Justice approve the restoration of the forfeited funds to the

    Clerk of Court to distribute pursuant to any restitution order entered by the Court as to

    Raniere. 8 However, pursuant to 28 C.F.R. § 9.1(b)(2), the sole discretion to approve the

    Office’s request lies with the chief of the Department’s Money Laundering and Asset

    Recovery Section (“MLARS”), and the losses in the restitution order must otherwise

    comport with 28 C.F.R. Part 9.

                  Offenses involving human trafficking have special provisions concerning

    dispositions of forfeited funds. Congress has directed that all property forfeited under

    Section 1594 “shall” be used to pay any restitution ordered in the criminal case. See 18

    U.S.C. § 1594(f)(1); see also 18 U.S.C. § 1594(f)(2) (providing that such transfers of



           8
                   When MLARS approves restoration of forfeited funds, MLARS typically
    directs the funds to the most comprehensive restitution order issued in the case. This ensures
    that no victims will be omitted from compensation and that all are treated fairly, and also
    ensures that restoration accomplishes the same objectives as 28 C.F.R. § 9.8. The
    government anticipates that any restitution ordered entered against Keith Raniere will be the
    most comprehensive of those entered in this Court, in light of Raniere’s leadership role and
    his conviction on all charges in the indictment.

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    forfeited funds shall have priority over any other claims to the assets or their proceeds).

    Because, however, at least some of the assets to be forfeited in this case were not forfeited

    pursuant to an offense covered by Section 1594, should MLARS approve restoration of any

    judicially-forfeited funds to the Clerk of Court, the Clerk would distribute such funds to

    victims on a pro rata basis absent an order from the Court that specifically prioritizes the

    1593 Victims. 9

                   Given the primary of the sex trafficking and forced labor offenses in this case,

    the degree of harm caused by these violations, and Congress’s interest in prioritizing

    forfeited funds for remission to victims of these crimes, the government respectfully submits

    that any restitution order entered by the Court should specifically identify the 1593 Victims

    and prioritize restitution to them, to ensure that they receive the funds they need to fully

    recover and rebuild their lives.




           9
                   In addition to judicial forfeiture proceedings, the government has commenced
    administrative forfeiture proceedings against approximately $330,847.86 turned over to the
    government by counsel for Nicki Clyne (the “Clyne Funds”). The Clyne Funds represent the
    proceeds of the sale of the DOS “sorority house.” See Tr. at 1510; 1538. Under 18 U.S.C.
    § 1594, the forfeiture statute applicable to the Clyne Funds, the Department of Justice is
    required to remit such funds for payment of restitution to the 1593 Victims. For such a
    transfer to comply with Section 1594, Raniere’s restitution order must identify such victims
    and their losses.

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                                            ARGUMENT

                  It is difficult to overstate the seriousness of the defendant’s crimes. As

    reflected in the impact statements submitted by the victims in this case, Raniere wreaked a

    path of destruction through his victims’ lives. 10 The defendant was able to engage in

    criminal activity for so long because he successfully cultivated followers loyal to him who

    carried out his orders and shielded him from scrutiny. Raniere sought out those who could

    provide financial support or the connections to enhance his reputation and increase his power

    to intimidate critics and detractors. Raniere concealed his abuse behind the smokescreen of

    his supposed “personal growth” programs—a charade he continues to this day. Since his

    conviction, Raniere has continued to demonstrate a complete lack of remorse for his crimes.

                  The government respectfully submits that a Guidelines sentence of life

    imprisonment is necessary to provide appropriate punishment, to protect the public from

    further crimes by Raniere, to promote respect for the law, and to discourage others from

    committing similar crimes.

           I.     The Nature and Circumstances of the Offenses and the Need to Provide Just
                  Punishment Warrant a Sentence of Life Imprisonment

                  There is no question about the seriousness of the offenses for which Raniere

    was convicted. As demonstrated at trial, among the many acts of manipulation, coercion,

    and exploitation that Raniere committed were the following:

                   Raniere ordered the confinement of Daniela to a room, without human
                    contact, for nearly two years;


           10
                   The government is currently in receipt of a significant number of victim
    impact statements, which have been provided to counsel for the defendant. These
    statements, along with any others the government receives, will be provided to the Court as
    directed in advance of the October sentencing.

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                   Raniere sexually exploited Camila, a 15-year-old child, and took
                    photographs of his abuse;

                   Raniere created and led DOS, in which women were recruited under the
                    false pretense of joining a women-only mentorship group, later discovering
                    that they had taken collateralized “vows of obedience” to women who were
                    “slaves” to Raniere;

                   Raniere directed that several DOS “slaves” be assigned to have sex with
                    him;

                   Raniere directed the unlawful surveillance of individuals perceived to be
                    enemies or critics of Nxivm;

                   Raniere obstructed justice by ordering the tampering of evidence to be used
                    in a civil lawsuit; and

                   After some DOS victims began to share their experiences of abuse
                    publicly, Raniere and Clare Bronfman drafted threatening cease-and-desist
                    letters, which were then sent to several DOS “slaves” by attorneys in
                    Mexico retained by Bronfman.

    The defendant’s crimes are among the most serious under the law, both in their character and

    in the amount of time and manipulation dedicated to their commission. The government will

    not here belabor the fact that the criminal conduct proved at trial shocks the conscience. The

    brother of Camila and Daniela, Adrian, has described the devastating impact of Raniere’s

    actions on his family:

                  The emotional and physical torture that my sisters had to endure should
                  never be allowed to happen to anybody. My whole family is still
                  suffering because of him. . . . Keith made my whole family think Dani
                  was a dangerous psychopath, and to this day my father will not speak to
                  her, or me, or our mother, because we are somehow going against
                  Keith. He still has that kind of hold over half of my family. Keith
                  Raniere is a menace to society; he cares about nobody and nobody can
                  ever be safe with him around.

    Their mother also submitted an impact statement describing the effect of Raniere’s criminal

    conduct on her children: “Keith played with each of us at will. He set us as enemies,



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    separated us. He did inhuman things to my daughters behind my back. . . . Keith took away

    the freshness of my children, their spontaneity, their curiosity, their love for themselves.”

                   Raniere began preying on Camila, whom he called “virgin Camila,” in 2005.

    The power imbalance between them could not have been more stark: Camila was fifteen

    years old, with no legal status in the United States, and Raniere was forty-five and the leader

    of the community to which Camila’s parents belonged. Raniere did not just abuse Camila

    sexually. For over a decade, he psychologically tortured a young woman, withdrawing

    affection or approval if she did not accede to his demands. As demonstrated in the thousands

    of messages exchanged between Raniere and Camila, a small subset of which are appended

    to this memorandum as Exhibit A, Raniere’s conduct towards Camila was controlling and

    emotionally abusive. See, e.g., Exhibit A, GX 301-R-96 (“If you want me to come tonight, I

    will under these conditions: there will be no talking. You will meet me at the door in the

    outfit you think I would find sexiest. You will arouse me, we will make love for my

    satisfaction and pleasure. You will do everything you can to provide that. I will finish and

    leave. Do you agree yes or no?”); 301-R-239 (“I expect you to text me this vow [of

    obedience] now. I will text you later. I expect you to answer this right away. Otherwise no

    go. You need to be happy wherever you are with me because my time means that much.”).

                   Raniere required Camila to ask permission of him for everything she did, even

    in order to contact her own family and to cut her hair. See, e.g., GX 301-128 (“I really hate

    that I feel like I have to ask you for permission to do anything outside of my schedule”);

    GX 1779-25 (“Can I text my family?”), GX1779-87 (Camila’s request for Raniere’s

    permission to remove pubic hair), GX 1779-166 (Camila’s request for Raniere’s permission

    to take “4 days away for a flamenco workshop,” to which Raniere responded, “Give me a

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    day...likely a yes”). When Camila resisted him, Raniere threatened to evict her from the

    residence she was living in and, because she had no legal status, deport her to Mexico. See,

    e.g., GX 301-R-222 (Raniere: “That’s the last chance move your stuff out tonight.”);

    GX 1779-2 (Camila: “Can you please not send me back to mx?”); GX301-R-280 (Raniere:

    “The apartment will need to be done first thing tomorrow 8am. Put all my things, money,

    etc… together”).

                  Raniere’s messages to Camila reflect Raniere’s preoccupation with Camila’s

    weight and her sexual submission to him. See, e.g., GX 301-R-249 (demanding that Camila

    “eat less”), see also GX 302-R (“You need to not be prideful and lovingly satisfy me. Let’s

    see if you can.”); GX 308-R (“You need to make me far superior to everyone ([Robbie

    Chiappone] and Jim [Del Negro]) in every way conceivable no question.”). Raniere was

    obsessed with Camila’s previous romantic interest in Chiappone. Tr. at 3466-69; GX301-R-

    20; GX1779. Raniere required Camila to provide him with details of her interactions with

    Chiappone, including what clothes Camila wore and Chiappone’s sexual performance. Id.;

    Tr. at 3557. Raniere told Camila that her relationship with Chiappone affected her “purity”

    and her suitability as his “successor” and that Camila would have to “fix” it, by, among other

    things, finding him a “virgin” to be his “successor” and “pure vessel.” See, e.g., Tr. at 3469,

    3588-89 (“There are potential successors but they are so young. This creates several

    problems. Will I live long enough? Will they stay pure? Will they connect so deeply with

    me being so much older?”).

                  During the course of the “relationship” between the defendant and Camila,

    Camila slowly became withdrawn. She no longer socialized with family and friends. She

    lost weight at Raniere’s insistence. As recounted in her brother’s impact statement, Camila

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    “became extremely private. She wouldn’t tell anyone where she lived. She struggled losing

    weight and was malnourished. She always appeared to be busy, but I never knew with what,

    and she never had any money. I had [no] idea how much Keith was manipulating her. He

    was very good at keeping his actions hidden from me and from other people.” See also Tr. at

    1597 (Lauren Salzman’s testimony that there was “a lot of curiosity and speculation about

    what was going on with Camila. How come nobody could go to the house? . . . And

    eventually Lucy told me that she figured out where Cami lived because she saw Keith

    coming and going from Cami’s house. And I wasn’t permitted to know or nobody told me.”)

    Camila’s own messages to the defendant reflect her despair and distress at this time:

           October 10, 2014:     I feel like I have a gun pointed at me and I’m and I’m just trying
                                 to say what you want to hear so you won’t shoot but I don’t
                                 know what it is you want to hear.

           November 24, 2014: I feel like your puppet.

           December 8, 2014:     You have taken everything that is important and meaningful to
                                 me. But it is more than that. You have branded me for life.
                                 Your words have destroyed me. I feel helpless and worthless. I
                                 feel dead inside.

           February 8, 2015:     I’m angry at you because you couldn’t see how being with me at
                                 such a young age was probably taking away from my life and
                                 opportunities.

    Exhibit A, GX 301-R-89, 233, 284; GX 302-R-77.

                  For decades, Camila told no one about her sexual relationship with Raniere,

    the man who was without question the most powerful person in her family and community.

    Camila had suicidal thoughts. She harmed herself—a common response to sexual abuse and




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    a coping mechanism to feel in control. 11 See, e.g., Tr. at 2474 (testimony of Daniela

    describing Camila’s cutting). These effects are not uncommon in similarly-victimized

    individuals, and for this reason, Raniere’s post hoc justification for DOS as having been

    created “as part of ensuring that [Camila] would never” again attempt suicide, see Tr. at 1895

    (Lauren Salzman’s testimony), is perverse.

                   Raniere’s treatment of Daniela, Camila’s sister, was also shocking. As he did

    with Camila, the defendant instructed Daniela to keep their coercive sexual relationship a

    secret and pressured her to lose weight. Tr. at 2379 (testimony of Daniela); id. at 2633

    (Pamela Cafritz instructed Daniela to conceal that Raniere was the father of her child to

    medical professionals); id. at 2636 (after her abortion, Raniere told Daniela that it was a

    “great opportunity” for her to lose weight, a conversation that left Daniela “in shock”). After

    Daniela told Raniere about her relationship with another man, Daniela’s “life changed

    overnight.” Tr. at 2675 (“I was highly dependent on him and his community which he

    controlled and he was also my only friend. Like, there was nobody else for me to talk to at

    that point. I had a coach. I didn’t talk to my mother anymore. My relationships [were]

    secret and, therefore, a large part of my life was.”).


           11
                    See Judith L. Herman, Trauma and Recovery: The Aftermath of Violence--
    From Domestic Abuse to Political Terror 109 (2015) (“The connection between childhood
    abuse and self-mutilating behavior is by now well documented. Repetitive self-injury and
    other paroxysmal forms of attack on the body seem to develop most commonly in those
    victims whose abuse began early in childhood. . . . Self-injury is intended not to kill but
    rather to relieve unbearable emotional pain, and many survivors regard it, paradoxically, as a
    form of self-preservation.”); Lori G. Plante, Bleeding to Ease the Pain: Cutting, Self-Injury
    and the Adolescent Search for Self 17-18 (2007) (“Many experts have concluded that the
    most common causal factor related to cutting and other forms of self-injury is a history of
    sexual abuse and trauma.”); Self-Harm, Rape, Abuse & Incest National Network (RAINN),
    https://rainn.org/articles/self-harm (“Some survivors of sexual assault may use self-harm to
    cope with difficult or painful feelings.”).

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                   Raniere enlisted the assistance of Daniela’s family members and Lauren

    Salzman in confining Daniela to a room in her parents’ home without human contact for

    nearly two years. Tr. at 2686-87 (testimony of Daniela); see also Tr. at 1926 (testimony of

    Lauren Salzman that Daniela’s family members “seemed sad and ashamed about their

    participation”). Raniere ensured that Daniela’s confinement was kept secret and told Lauren

    Salzman not to speak to him over the phone about it. Tr. at 1927. Daniela was miserable

    and wrote letters to Raniere every day, often multiple times a day, letters which went

    unopened. Tr. at 1934. At trial, Lauren Salzman testified:

                   I think it’s horrendous. I—of all the things that I did in this case
                   and the crimes that I committed, too, I think that this is the worst
                   thing that I did. I—I don’t know what to say. I kept her in her
                   room for two years . . . . And the family, they were close as a
                   family when they came to us. And those relationships were
                   incredibly severed through this and other things that happened.
                   And I don’t know how you can ever recover from that.

    Tr. at 1936. As was made clear by Daniela’s testimony at trial, Raniere’s actions had a

    lasting effect on her psychological health. Daniela testified, “I broke pretty quickly . . . I

    think I went crazy . . . I would be completely numb for days.” Tr. at 2891; see Tr. 2892 (“I

    had no books. I had nothing to read. Nothing to listen to or nothing to grab onto or

    somebody else’s words to grab on to.”); id. at 2904 (“[i]t was harder and harder to keep the

    darkness at bay.”).

                   Through DOS, Raniere escalated the scope of his abuse and exploitation of

    women. Raniere urged his First Line DOS “slaves” to recruit hundreds of women into DOS.

    Tr. at 1619-20 (testimony of Lauren Salzman that Raniere expressed a preference for DOS

    “slaves” in “positions of power and influence”). After these women provided “collateral,”

    such as sexually explicit photographs and videos and damaging confessions, they were

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    coerced into submitting to providing additional collateral, doing tasks for their “masters,”

    and, in some instances, engaging in sexual activity with Raniere. Raniere’s role as

    “Grandmaster” and the sexual nature of DOS was deliberately concealed from recruits,

    including paddling, sexual activity with “slaves,” and “up-close vagina pictures.” Tr. at

    1790-94 (testimony of Lauren Salzman). These sexually explicit photographs, which were

    required of nearly every woman recruited into DOS, were of the same type that Raniere took

    and kept of his own sexual partners. See, e.g., Tr. at 1537 (testimony of Lauren Salzman

    describing Raniere’s preference with respect to pubic hair); id. at 1626 (testimony of Lauren

    Salzman that Raniere preferred DOS pictures “with our legs spread or up close vaginal

    pictures”); id. at 2378 (testimony of Daniela that, as to pubic hair, “one did not touch it”).

                   Raniere expressed callous disregard for the women recruited to be DOS

    “slaves.” When, for example, the First Line expressed concerns about branding their recruits

    with Raniere’s initials without their knowledge or consent, Raniere responded that “it

    shouldn’t matter” and “insisted” that it “would not be a problem.” Tr. at 1621-22 (testimony

    of Lauren Salzman). But for the bravery in the DOS victims speaking about their abuse,

    there is little doubt that Raniere would have continued to commit crimes. Raniere even

    attempted to use the First Line of DOS to locate a virgin “successor,” who, as Lauren

    Salzman testified, would serve as a “replacement” for Camila. Tr. at 1899-1901. Lauren

    Salzman testified that the first-line DOS masters, including Rosa Laura Junco, made attempts

    to recruit virgins for this role for the defendant’s benefit. Id. Raniere’s communications

    with Camila also refer frequently to finding a young “successor candidate.” See Exhibit A,

    GX 301-R-29; see GX 301-R-332 (“Does Ana know suitable virgins?”); GX 1779-485 (“[I]f

    my lineage does not withstand competition, my unique genetic combo will not be able to

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    either. It will not be a basis of other generations, it will be absorbed and combined with

    others until a superior combination comes about.”); GX 1779-485 (Raniere telling Camila

    that “Rosa Laura” could assist her in becoming “friends with young future candidates” and

    “shepherding them over time”). These efforts were confirmed in a October 4, 2015 email

    from Rosa Laura Junco to Raniere, in which Rosa Laura Junco apologized for her

    “shortcomings” in keeping her teenage daughter, Lauris, away from the defendant and the

    effect on the defendant’s “possibility for succession.” GX 1325. In the email, Rosa Laura

    Junco states that she is “100 clear that you are what I want for my daughter (and obviously

    for myself).”

                    Sex trafficking is a crime that strips victims of their dignity and self-worth,

    causing them unimaginable damage. For many of his victims, Raniere’s actions had a

    destructive impact on their psychological health, emotional stability, and understandings of

    relationships and trust. At trial, Sylvie testified about her disgust and shame after Raniere

    performed unwanted oral sex on her and took photographs of her vagina:

                    I felt so disgusting and ashamed, so I just thought—I felt like it
                    was all lies.

                    I felt—I think I just felt shame, all around that time I felt so
                    much shame and still do honestly about this whole thing . . . I
                    just felt like everything was just lies and secrets and darkness.
                    Like I say, it was such a horrible time.

    Tr. at 255-259. As Nicole explains in her victim impact statement, “[t]he massive effect this

    had on my psychological state is hard to fully explain. On one hand, the fear I felt in being

    both blackmailed and bullied, of slowly realizing I no longer had control of my own life. And

    on the other hand, the deep confusion and struggle to believe Allison when she told me how

    much she cared for me and reminded me that what I was being put through was for my own

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    good. The cruelty of that abuse of power and trust will be with me forever.” Nicole states

    that she “regularly felt like [she] was losing her mind.” Similarly, Jay states that her

    “confidence in [her]self, [her] talents, and who [she] is has been completely shattered” by her

    experience in DOS. She explains, “My sunny disposition has been shifted. I find myself

    darker, more negative on my outlook of humanity. . . . Not wanting to make new friends or

    connect with others. Feeling constantly alienated.”

                   Other victim impact statements from DOS victims, which will be provided in

    full to the Court, reflect that the defendant is responsible for causing profound levels of stress

    and emotional injury:

                   “I NEVER would have joined if I had known that Keith was the
                   top master. . . . I have no words to explain how this affected me.
                   I have never felt so vulnerable and exposed.”

                   “Just thinking about the possibility of Keith being set free gives
                   me tremendous anxiety and stress. He hurt me and some of my
                   friends in ways that can never be undone.”

                   “With the branding, I was physically injured and it’s a scar that
                   is very difficult to erase. There was a lot of physical pain
                   also. . . . But the most harm that I experience was emotional. To
                   be deceived by people that I really trusted. They knew
                   everything about me, they knew I wanted to help others and like
                   me, a lot of people were in the same situation. And that’s the
                   worst part, to take advantage of people who wanted to build
                   better people, better communities, better families, and be better
                   human being. And everything was a lie.”

    The unprecedented magnitude, duration and scope of Raniere’s crimes demand the most

    serious penalty available.




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           II.    Raniere’s Denial of Responsibility, the Need to Protect the Public and Specific
                  Deterrence

                  Raniere has demonstrated a complete lack of acceptance of responsibility for

    his crimes of conviction. Raniere’s post-conviction prison calls and emails reflect that he is

    unrepentant, has no empathy for his victims, and would continue to commit crimes if

    released. See Exhibit D. Raniere still communicates with Nicki Clyne, a member of the

    First Line, and even though DOS caused incalculable harm to the women who were recruited

    into it, on November 7, 2019, Raniere wrote an email to Nicki Clyne stating:

                  I believe the sorority is good—not just good and even noble, but
                  great—and vitally important for women and humanity. It is
                  tragic the current organization has been stymied by a few
                  envious men abusing position of power in government, media,
                  and film; some women who didn’t live up to their sacred honor
                  and vows; and people in general who just feel threatened by this
                  idea. The missing part of our society, found in a secret group of
                  women like this, aches to be embraced; we should deeply mourn
                  it[s] possible loss. It is a living thing, a precious thing, and an
                  essential thing to complete the human story: groups that are
                  different are not necessarily bad, and ways of journeying
                  through our lives, only for the few, and too intense for the many,
                  are foundationally important for all of us. This sorority is such a
                  thing: living, precious, intense, and some would say even
                  sacred. If the current group of committed women, for whatever
                  reason, do not carry [t]his considerable body of knowledge,
                  practices, and skills forward, some other group of brave
                  courageous, women should—even must—somehow,
                  somewhere. It’s here, waiting for the right women, right now.
                  Who will carry forth this burning torch of light?

    Exhibit D-004. Similarly, in a March 12, 2020 call with Suneel Chakravorty, one of

    Raniere’s supporters, Raniere addressed his conduct with respect to Daniela, stating that she

    “would have to go back to Mexico or she had to explain to people how she was going to stop

    from all the stealing and the other things that she was doing. She also had to finish a book

    report. She had a number of different book reports she was supposed to do and she was seen

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    as being very prideful about it and no matter what, she would do anything, you know, say

    anything, but never just sit down and simply finish the book report.” Exhibit D-021.

    Raniere described Daniela as engaging him a “battle of wills” and who “threw, like, uh, what

    would be a massive sort of tantrum.” Exhibit D-022.

                   The defendant’s unwillingness or inability to express understanding of, and

    remorse for, his actions is deeply troubling. It suggests that a Guidelines sentence is

    particularly important for specific deterrence and protection of the public. See United States

    v. Broxmeyer, 699 F.3d 265, 295 (2d Cir. 2012) (stating that defendant’s “lack of remorse

    for, or even appreciation of, the seriousness of the totality of his conduct . . . further

    expand[s] the range of substantively reasonable sentences to allow the district court to afford

    adequate specific deterrence and protection of the public”); United States v. Kaziu, 559 F.

    App’x 32, 39 (2d Cir. 2014) (summary order); accord United States v. Martinucci, 561 F.3d

    533, 535 (2d Cir. 2009) (lack of remorse is a pertinent sentencing factor under Section

    3553(a)). A sentence of life imprisonment is particularly warranted where, as here, the

    defendant has committed offenses for which Congress has made specific findings about the

    likelihood of recidivism. See H.R. Rep. No. 107-527, at 2 (2002) (noting that “studies have

    shown that sex offenders are four times more likely than other violent criminals to recommit

    their crimes” and that “recidivism rates do not appreciably decline as offenders age”).

                   In addition, Raniere has demonstrated a disregard for the law and for the

    system of justice. In many phone calls with Mr. Chakravorty, Raniere expresses contempt

    for the prosecution and the Court. For instance, during an April 8, 2020 phone call with Mr.

    Chakravorty, Raniere stated that “the major witnesses all lied” and expressed his view that

    “this judge”—referring to the Court—was corrupt. Exhibit D-043. Raniere further stated

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    that they had to “get scrutiny on this judge, get some pundit who is willing to speak out about

    what this judge is saying, which is crazy, and the judge needs to know he’s being

    watched . . . .” Exhibit D-052.

                  Raniere also directed his supporters to develop a podcast and to set up a

    “contest” in which members of the public would be invited to find purported errors in

    Raniere’s prosecution and trial in exchange for a cash prize. In many phone calls, Mr.

    Chakravorty describes his efforts to find “judges”—i.e., members of the public—to evaluate

    submissions for the contest and “check[] the prosecutor’s homework.” Exhibit D-049; see,

    e.g., Exhibit D-024; D-042. In an email on January 8, 2020 to Eduardo Asunsolo, Raniere

    explains that prizes should be in the amount of $25,000. 12 Exhibit D-009; see also id.

    (Asunsolo: “Some people have feedback that it might be good to have a PR firm linked to the

    contest. It can filter people who’d just want attention and not to seriously analyze the case.

    And help in general with the contest.”) In subsequent calls, Raniere offers lengthy diatribes

    on the criminal justice system for Mr. Chakravorty to record, similar to the “verbal

    downloads” that were described at Raniere’s trial, see, e.g., Tr. at 339 (Sylvie’s testimony);

    Tr. at 524 (Vicente’s testimony), presumably for publication on a podcast. In these calls,

    Raniere claims that his conviction resulted from corruption. Exhibit D-061 (“There’s a

    person, Preet Bharara, who was head of the Southern District at one point. He even said that

    there are corrupt judges. Some judges are corrupt.”).

                  Further, even though counsel for Raniere stated, at trial, that he did not have

    access to Raniere’s phone, Raniere has given his supporters “permission” to “get to [his]



           12
                  The source of funds for these cash prizes is not apparent.

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    phone.” 13 In an April 6, 2020 call with Mr. Chakravorty, Raniere told Mr. Chakravorty that

    “they have a mirror of the phone, I believe, from, uh, you know, a security agency that did

    the custody, so, you should be able to go on the phone and take off my WhatsApp chats, my

    Telegram chats, things like that . . . so, I, I give you guys, you, you know, Nicki [Clyne],

    permission to do that.” Exhibit D-027. In a call on April 8, 2020, Raniere and Mr.

    Chakravorty had the following exchange:


            CHAKRAVORTY: Oh, okay, uh, as far as getting your cell phone,
                         uh, apparently that’s, that’s considered
                         contraband, um . . .


            RANIERE:               Yeah, I just read an email from Marc. I wasn’t
                                   able to respond to any of them because since I
                                   have to do this so quickly…


            CHAKRAVORTY: Okay.


            RANIERE:               . . . Um, I think the phone is still my property.
                                   That was… I don’t think it was ever even
                                   subpoenaed.


           13
                  At trial, Mr. Agnifilo stated that he did not have access to Raniere’s phone:

                  THE COURT:             Yes, where is the phone anyway?

                  Mr. Agnifilo:          I don’t have the phone.

                  THE COURT:             Surprising.

                  Mr. Agnifilo:          It’s surprising or not.

                  THE COURT:             You have no idea where it is?

                  Mr. Agnifilo:          I don’t know where the phone is.

    Tr. at 4225-26.

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            CHAKRAVORTY: Oh, okay.


            RANIERE:               Um, so, you know and I . . . as, as far as
                                   pictures. . . there is nothing there, I believe is
                                   considered. . . I don’t know, I mean, I guess they
                                   can try to say certain pictures were considered
                                   illegal or something like that, but, um, you
                                   know, uh, uh, see what, see what he can do
                                   because that phone has not been subpoenaed.

    Exhibit D-040.

                   In his communications with his supporters, Raniere repeatedly attempts to cast

    himself as a victim of persecution and harassment from the government and from unknown

    enemies. 14 See, e.g., Exhibit D-002 (“[T]his situation has been a purely political, envy-

    driven, money-powered lie to destroy a community, and keep me either incarcerated for life

    or otherwise “disposed of.” This lie is perpetrated by certain politicians, prosecutors,

    lobbyist [sic], agents, judges, and people of influence, who likely received great benefits of

    recognition, social capital, favors, and maybe even money: it should all be closely

    examined.”); Exhibit D-072 (“[T]hese people who are the political pushers of judges and

    media, they don’t need to be able to influence a particular judge. . . . So if they have a certain

    number of judges that are under their control in the Second Circuit, all they have to do is

    make sure that your case gets in front of one of those judges.”)


           14
                   Raniere has continued to regularly contact his supporters, even entering aliases
    for them in the Bureau of Prisons contact list in order to prevent detection. For instance, it
    appears that in July 2020, the Bureau of Prisons suspended calls between Raniere and Mr.
    Chakravorty for a period of time. On August 11, 2020, Raniere entered an individual under
    the name “Issac Edwards.” The address provided by Raniere for “Issac Edwards” is
    fabricated and the phone number provided by Raniere for “Issac Edwards” belongs to a
    burner phone. Subsequent calls between Raniere and “Issac Edwards” reflect that “Issac
    Edwards” is Mr. Chakravorty.

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                   Raniere’s post-conviction conduct reflects his total lack of empathy for his

    victims. The government submits that his continued lack of acceptance of responsibility is a

    factor the Court should consider seriously and that only a sentence of life imprisonment is

    significant enough to prevent and deter future wrongdoing.

           III.    The Need to Promote Respect for the Law and General Deterrence

                   The need to promote respect for the law and to deter others also warrants a

    significant sentence. Raniere was able to commit these crimes because, for years, he and his

    co-conspirators retained scores of attorneys, public relations firms, and consultants to shield

    his activities and to pursue individuals he perceived to be detractors or critics. The targets of

    these efforts included reporters; vocal critics of Nxivm or Raniere, including Rick Ross and

    Raniere’s ex-girlfriends; former Nxivm members; former Nxivm attorneys; and even federal

    judges overseeing litigation involving Raniere and Nxivm. See, e.g., Tr. at 4728-29

    (testimony of Rick Ross); id. at 4999 (testimony of Special Agent Weniger);

                   General deterrence is particularly significant in sex trafficking cases, where

    victims are often reluctant to speak to law enforcement and where, as Congress has

    recognized in enacting the sex trafficking statute, “traffickers often escape deserved

    punishment.” United States v. Estrada-Tepal, 57 F. Supp. 3d 164, 169 (E.D.N.Y. 2014)

    (quoting legislative history and discussing legislative goals in enactment of 18 U.S.C.

    § 1591). In addition, Raniere’s crimes were difficult to investigate and were uncovered as a

    result of more than a year-long investigation requiring significant government resources,

    including interviews of more than a hundred individuals. A sentence that serves as general

    deterrence of crimes that are complex and difficult to investigate is also warranted here. See,

    e.g., United States v. Heffernan, 43 F.3d 1144, 1149 (7th Cir. 1994) (“Considerations of

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    (general) deterrence argue for punishing more heavily those offenses that either are lucrative

    or are difficult to detect and punish, since both attributes go to increase the expected benefits

    of a crime and hence the punishment required to deter it.”).

           IV.     The Need to Avoid Unwarranted Sentencing Disparities

                   Under 18 U.S.C. § 3553(a)(7), the Court must also consider “the need to avoid

    unwarranted sentence disparities among defendants with similar records who have been

    found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6). This factor is difficult to apply in

    this case as Raniere is not similarly situated to other defendants, but even so, the government

    submits that it also weighs in favor of a sentence of life imprisonment. See, e.g., United

    States v. Brown, 12-CR-145 (N.D.N.Y.) (GLS) (sentence of 60 years for production and

    possession of child pornography); United States v. Rivera, 09-CR-619 (SJF) (E.D.N.Y.)

    (sentence of 40 years for sex trafficking, forced labor, and alien harboring counts); United

    States v. McGowan, 09-CR-653 (SJF) (E.D.N.Y.) (sentence of 90 years for three counts of

    production of child pornography); United States v. Brockett, 08-CR-289 (E.D.N.Y.) (SJ)

    (sentence of 23 years for sex trafficking); United States v. Broxmeyer, 08-CR-21 (TJM)

    (N.D.N.Y.) (sentence of 30 years for attempted production and possession of child

    pornography in connection with 17-year-old girl). Notably, Raniere did not just commit one

    or two of the crimes. He led members of a racketeering enterprise in the commission of all

    of them, and over an extended period of time.




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                                         CONCLUSION

                 For the reasons set forth above, the government respectfully submits that the

    Court should impose a Guidelines sentence of life imprisonment on the defendant.



    Dated:    Brooklyn, New York
              August 27, 2020

                                                     Respectfully submitted,

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